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                        EXHIBIT D
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December 20, 2021



Your Honor,



My name is Christina Soares, and I am the mother of Jessie Rush. I am writing this letter on behalf of my
son. I am not writing to beg for mercy, I understand that he made a mistake and for that there will be
consequences. I am, however writing to give you a mother’s point of view.

Unfortunately Jessie has not had the best life. The first time Jessie was faced with abuse was when I was
3 months pregnant. His father found out I did not have an abortion and decided to take matters into his
own hands. I thought for sure I had lost him, but when the doctor told me that he would be ok I knew
then that he would do great things.

I was only 17 when I had Jessie which made me feel like it was him and I against the world. I was told
“your baby, your responsibility”. I took that to heart. As I was still learning about life and trying to
graduate I was also learning how to be a mother. Even though I always tried to do what was best not all
my decisions were right. For that I do take responsibility.

When Jessie was 3 he was ripped out of my arms by two Oceanside police officers and take away from
me because of a chicken pox scar on his face. His paternal grandmother claimed I burnt him with a
cigarette, that I was addicted to meth and had him take from me. From there he ended up in an
“orphanage”, then foster care and finally back with me. After that I ended up in some trouble and not
knowing what was going to happen I took Jessie to my sister and from there his father took him. That’s
when the abuse started. I tried hard to get him back but unfortunately I was terrified of his father so I
did not push as hard as I should have. It wasn’t until Jessie finally told me that he was being abused that
I stood up and took my son back. However, Jessie being who he is recanted his claim. He explained that
he needed to keep his brother safe and was afraid that if he stood up to his father the abuse on his
brother would worsen. He felt that if he said he lied he would be allowed to see his brother, and he
was. We were able to bring him over on the weekends and at one point I even tried to convince his
father to let him stay.

While in school Jessie tried to find his place. He tried different sports, but nothing ever fit, until he
found the Sea Cadets. That’s where he felt he fit in and he exceled. He never missed a drill weekend or
an event. This gave Jessie back his confidence. From there as soon as he was old enough he joined the
Police Explorer Program. This was his. He never missed an opportunity to ride along with an Officer or
work an event alongside the officers. He became close to a few, who became like family. They would
take him to training events with them and they never missed an opportunity to stop by the house just to
say hi.

After a few years with the Police Explorers, Jessie knew what he wanted to do and that was join the
Military. When he came to me with the idea I wasn’t a fan of it but I told him, if he could show me that
he was mature enough to make that decision we would go and talk with the Recruiters. He did exactly
that. He joined the Future Soldiers of America. He worked hard daily to learn all he could about the
Military, to get into shape and help the others meet their goals. There wasn’t a day that Jessie wasn’t
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out running either with the entire group or just one fellow Future Soldier who needed the
encouragement. Jessie also balanced school and worked his hardest to graduate from High School a
year early. When the time came I kept my end of the agreement and we went together and had our
conversations. He decided on the Army, as hard as it was I signed the papers. The day he took his Oath
was bitter sweet. I was so extremely proud, but I was also terrified. The day he graduated from Basic
Training, I could not get on that field fast enough. Once all his Specialty Training (AIT) was complete his
next stop was Germany, the moment he told me I knew my son would deploy. The day came and Jessie
made it a point to FaceTime with me right up until the moment it was time to go. Combat was just
about the hardest. Not knowing what or where. Black outs killed me. A black out is 3 days of silence
due to a Fallen Hero and notification needing to be made. During that 3 days you knew that somewhere
there was going to be a knock on the door with 2 Uniforms standing on the other side. As soon as he
could, Jessie always made it point to call me so I knew he was safe. Mid-deployment Jessie was able to
come home on leave. This is where I learned the hardest lesson as a mom. The neighbors were setting
off fireworks and I watched as my son, my child, hit the floor in the fetal position and cried out for his
brothers. As a mother the only thing I wanted to do was protect him, fix it, take it away and I couldn’t.
He only wanted and needed his brothers at that moment. Watching this broke my heart.

After deployment Jessie came home and I knew he was different. He no longer had that twinkle in his
eye or the innocence in his smile. However, he still had a heart and the will to help others and to do the
right thing. At the end of his visit Jessie was to report to Ft. Sill, Oklahoma which he asked if I would
drive him out so we could spend that time together. The day we needed to leave Jessie came to me and
told me he had a daughter. I asked all the questions. Jessie told me they did a DNA and it came back
99.99%. I said ok then where is she. Jessie told me that her mother was running from motel to motel
hiding from her abusive boyfriend and that he could not leave until he knew his daughter was safe. As
his mother I said lets go get them they can stay here at the house until I get back. Seeing this baby girl
broke my spirit. The scars and bruises, there was no denying this baby was being abused. I made him a
promise that she would be safe and that NOONE would ever hurt her again. That I would fight for her
until he came home. We got them both settled and got on the road. While driving my thoughts were all
over and her age kept circling back. So I did the math. Having been pregnant myself I realized there was
no way she could be his. So I approached the subject with caution and we had the conversation. Jessie
looked at me and said (I’ll never forget these words) Mom, I couldn’t save the babies in the village, but I
can save this one. She deserves the chance to have a home. I said ok, let’s do this. Jessie made it a
point to put her on his insurance, he made sure she always had what she needed, and made it a point to
call her as often as he could. The Officers that he had become close also made it a point to be a part of
her life as they were still apart of his.

Your Honor, my son is not the monster that the media has tried to make him out to be. Jessie is one of
the most selfless people I know. From the time he was little until now he has always tried to put others
first. Whether it was singing “I believe I can fly” to a complete stranger on the bus or serving his country
in combat he has always wanted to help others. Even in combat my son took the time to send me
flowers just because. I’ve seen him sit with a friend of his for hours because they were having a hard
time. We talk twice a day and he never misses the chance to tell his 7 year old brother that he loves him
and to have a good day or sleep tight. He never misses the chance to say I love you mom. Does this
sound like a “monster”?
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Again, I do understand that he did wrong in the eyes of the law and for that there will be some form of
punishment. I know my son better than anyone and I know that no punishment put on him by the court
will be greater that what he is punishing himself. He has to live with what he did and knowing that he
has been made out to be a monster by the media. All I ask is that you take into consideration the person
and not just the crime. Your Honor I ask that punishment you set forth be beneficial to Jessie as well as
others. If you really want to punish Jessie, order him to face his demons. Order him to speak to groups
of his peers be it at PTSD groups or other Veterans groups about what he has been through, what he
has done and where it has gotten him. I just don’t want to see my son lose everything that he has
worked for or accomplished during this time.

Thank you for your time.

Christina Soares
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Charles Fowler                                                            26 Dec 21

First Sergeant (Ret.) U.S. Army

38 Oak Ridge Lane, Sumrall, MS 39482

601-818-0319

Chuckie.fowlerjr@gmail.com

Judge James Donato:

I am First Sergeant (Ret.) Charles Fowler, who served 20 years active duty with the
U.S. Army. Upon retiring, I became a special education teacher with a master in
Special Education and a Specialist in Emotional and Behavior Disorders, EdS. As a
First Sergeant serving with Bravo Battery, 1st Battalion 17th Field Artillery Regiment
(1-17th FAR) from 2012 until deactivation in 2014. Specialist Jessie Rush had just
redeployed from Afghanistan back to his duty station in Germany. He then received
orders to Fort Sill, OK to Bravo Battery 1-17th FAR. I have known Jessie from the
Summer of 2012 until we lost contact around 2019 when he deleted his social media.
Jessie Rush and I stayed in contact because of my deployment experiences were very
similar to his and that I am also a certified volunteer fire fighter in MS.

The reason I write this letter is to explain why I feel Jessie Rush deserves to be
understood. I completely understand and respect the court’s decision to hold him
accountable as he did plead guilty to a crime which means he took responsibility for
his actions. This is a trait that I have practiced and instilled in all of my soldiers.
Jessie Rush has had a few obstacles that have been thrown at him early in his career.
First, Jessie was assigned to a unit that deployed to Afghanistan to provide security
to special operations (Navy Seals) in which he truly witnessed the atrocities of war.
As part of providing security for special operation forces, you travel through enemy
territory that will open fire to kill you instead of trying to work with you. During one
of these patrols, Jessie lost his best friend from which he knew from basic training
until his untimely death. This death hit Jessie hard as no one expects to lose someone
close to you who was your brother in arms. I do not remember the exact day of death,
though I remember beginning in November, he goes into his depressive state.
Because one of my two deployments to Afghanistan (2002-2003), I also served as
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security for special operations forces which allowed Jessie to have an outlet from
nightmares. Combat vets who experience similar circumstances tend to stick
together and I was the only person who he trusted to call at any hour to help him get
through his situations. Even his friends who were with him would call me if he was
having a difficult time because they knew that I would not hold it against him that
he reached out. If he did have a rough night, I would swing by the barracks the next
day and we would go have coffee and talk. As a leader, I prided myself on mentoring
many of my soldiers as the military’s mental health practices came from those who
are unfamiliar of combat trauma. Second, when Jessie became part of my unit, he
was informed that he had a daughter by a drug addicted ex-girlfriend who refused to
allow him to know her. Jessie took her to court and successfully won custody of his
daughter in court and became a proud single father. He did not move his daughter to
OK with him as he was in the process of moving units and he was comfortable
having his mom be her guardian at the time. As I had just adopted my daughter while
stationed at Fort Sill, we were able to develop a closer bond. We did talk about
protecting our girls, because we know the world has changed while serving and that
our trust circles are extremely small. One main reason happened to be the threats I
continued to receive from my daughter’s family calling CPS. On many occasions, I
would have to leave work, pick her up, and then retrieve my weapon for protection.
Jessie knew about this and I had talked on more than one of our talks that I will
always maintain my skills. Though we had to be careful because outside of the
combat zone, we are not cleared to create our own rules of engagement to deal with
items we deem as threats. Lastly, with everything Jessie was dealing with mentally,
he sought help for mental health and successfully completed a 45-day inpatient
rehabilitation that helped him transition from the military to being a civilian. The
reason that this is more than it seems is that a lot of soldiers refuse mental help
because of the stigma of the repercussions that were enforced to have you discharged
quickly without providing any help. Case and point are the Vietnam Veterans as they
returned home, they were discharged and many suffered severe combat trauma and
there was no assistance in helping those vets cope. Because of his combat related
trauma, I believe Jessie was referred to a medical board where his documentation of
trauma and injuries sustained in Afghanistan warranted an early released with an
Honorable Discharge. Jessie became an advocate for other soldiers to seek help as
suicide rates within the military communities continued to rise. He also advocated
to soldiers from multiple units to reach out to me if they need someone to talk to. I
had multiple deployments with varying jobs and experiences during each. Most
importantly, it was between us and I did not judge or try and talk nonsense to
someone to make them feel better. If they messed up, they still received the
consequences for their actions, but it was more mentoring and helping the soldiers
understand that there is more to them and guide them in getting the right help. Post-
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Traumatic Stress Disorder (PTSD) is very severe in the military, especially through
combat that dates as far back as the Battle of Thermopylae of 480 B.C. however, it
is the constant exposure to experiencing trauma or witnessing the same traumatic
events over and over. Upon leaving the service, Jessie completed the California State
Fire Fighters Academy. Where he responded and assisted in many of California’s
wildfires. As a result of his combat trauma and work as a fire fighter and EMT, Jessie
again began struggling with his PTSD and the Veterans Affairs did not offer Jessie
much help in adjusting therapy or medications. This was discussed on many
occasions as I checked in and communicated with Jessie through social media. As
the assistance continued to fail him, he began to pull away from all that were close
to him. He did have a girlfriend who was a very supportive member of his trauma
and helped him through many of his flashbacks and depressive states. Currently, I
do not know if she is still with him.

Judge Donato, thank you for giving me the opportunity to speak on my soldier’s
behalf. I ask that with Jessie accepting responsibility and he deserves to have
consequences, that he be released to receive inpatient treatment for a time period of
your choosing to allow him to receive the mental health assistance that Jessie does
need to get back on the correct path. I am available at any time to answer questions
from the court to provide additional details if required.

Sincerely,


Charles Fowler
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---------- Forwarded message ---------
From: Matt O'Bryan <mobryan2019@gmail.com>
Date: Thu, Jun 3, 2021, 1:10 PM
Subject: Letter of Character
To: <rush.jesse5@gmail.com>


To whomever it may concern,

        I have known Jesse Rush since 2010, we served together in the United States
Army. Jesse has always been an extremely honest man, dedicated to his friends and
family, and followed our values with dignity. Over the years he has spent countless
hours dedicating himself to learning his craft in order to continue to serve the Nation and
his community after his tour of service ended. Jesse always lends an ear, sound advice
and good moral character to any and all in need. I have never known Jesse to
encourage illicit or destructive behavior in anyone he has ever known, nor does he
tolerate that kind of lifestyle. I can not think of a better man to know, learn from or call
brother then Jesse Rush. He served his country with honor and continues to serve his
community with the same professional manner I have learned to expect from him.

      Respectfully,
SSG (Ret.), Matthew O'Bryan
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                          Academy for professional development
                                 Bureau for Private Postsecondary Approved Institution
                               School Code 87449530, License Expiration August 23, 2020




06-03-2021




To Whom It May Concern,

I am writing this Character Reference for Jesse Rush. This letter of reference is both personal and professional.
Jesse Rush has and continues to assist the schools EMT program. Mr. Rush has always displayed dedication to
our students in making sure they know the required knowledge to work on patients in the field. Mr. Rush holds
an instructor position per the rotational needs of the school. The school is a California Postsecondary approved
learning institution that focuses on EMT, Supply Chain Management and Executive Protection. Mr. Rush has the
mental and physical knowledge, determination and dedication and is indispensable to those whom he
professionally and personally supports. Mr. Rush has helped as an adjunct instructor for our other programs as
well and is a graduate of our school coveted 30-day Protector’s course supported by the Veterans Administration.
Mr. Rush is also a lifelong learner and has the needed open mind to evolve professionally and has proven this
with his time at the school to being referred out to our clients that hire protection professionals. The clients are
major technology entrepreneurs in the bay area to politicians and support staff. I recommend that Jess Rush be
able to pursue whatever goal he wishes and that institution that accepts him would benefit a great deal. Feel free
to contact me directly should the need warrant.



Sincerely,




Jerame Ayers
Chief Executive Officer
209-300-7822
jerame@afpdus.com




Modesto Office: 3421 Tully Road Suite H Modesto, CA 95350. (209)300-7822
